                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                             DOCKET NO. 5:15-CR-64
 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
    v.                                          )           ORDER
                                                )
 WILLIAM CODY ELDER, MICHAEL                    )
 WAYNE LITTLE,                                  )
                                                )
                Defendants.                     )
                                                )

         BEFORE THE COURT is the Government’s Motion to Dismiss, without prejudice, the

charges against Defendants (1) William Cody Elder and (2) Michael Wayne Little. (Doc. 43). The

Motion is GRANTED for the grounds stated therein. The charges are dismissed against these

respective Defendants without prejudice.

         SO ORDERED.

                                 Signed: December 8, 2015




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